Case 3:19-cv-01291-TJC-PDB      Document 16     Filed 03/01/23   Page 1 of 33 PageID 90




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

     JOSE SALVDADOR LANTIGUA

                        Petitioner,

     v.                                          Case No.: 3:19-cv-1291-TJC-PDB
                                                           3:19-cv-1292-TJC-PDB
                                                           3:16-cr-125-TJC-PDB
     UNITED STATES OF AMERICA,                             3:16-cr-141-TJC-PDB

                        Respondent.


                                           ORDER

           Petitioner Jose Salvador Lantigua moves under 28 U.S.C. § 2255 to

     vacate his conviction and sentence. (Civ. Doc. 1, § 2255 Motion; see also Civ.

     Doc. 2, Affidavit; Civ. Doc. 7, Corrected Supplement; Civ. Doc. 9, Second

     Supplement.) 1 In 2016, he pled guilty to four charges stemming from an

     insurance fraud scheme in which he faked his death in Venezuela, returned to

     the United States on a fishing boat, and assumed a false identity in North

     Carolina. He challenges his conviction and sentence based on claims of trial

     court error and the ineffective assistance of counsel. The United States



     1     “Civ. Doc. #” refers to docket entries in the lead § 2255 case, No. 3:19-cv-1291-
     TJC-PDB, which the Court consolidated with Case Number 3:19-cv-1292-TJC-PDB.
     “Crim. Doc. #” refers to docket entries in the bank and wire fraud case, Number 3:16-
     cr-125-TJC-PDB. When the Court refers to docket entries in the passport fraud and
     aggravated identity theft case, No. 3:16-cr-141-TJC-PDB, the Court uses “Crim. Case
     No. 141 Doc. #.”
Case 3:19-cv-01291-TJC-PDB       Document 16     Filed 03/01/23   Page 2 of 33 PageID 91




     responded in opposition (Civ. Doc. 13) and Petitioner replied (Civ. Doc. 15). The

     case is now ripe for review.

             Under Rule 8(a) of the Rules Governing Section 2255 Proceedings, the

     Court has determined that an evidentiary hearing is unnecessary to decide the

     matter. No evidentiary hearing is required because Petitioner’s allegations are

     affirmatively contradicted by the record or would not entitle him to relief even

     if the facts he alleges are assumed to be true. See Rosin v. United States, 786

     F.3d 873, 877 (11th Cir. 2015). For the reasons below, Petitioner’s § 2255

     Motion, as supplemented, is due to be denied.

        I.      Background

             The Eleventh Circuit Court of Appeals aptly summarized the facts of the

     case:

                    In April and August 2012, Lantigua applied to borrow $2 million
             in loans from Fidelity Bank (formerly known as American Enterprise
             Bank), a federally insured financial institution in Jacksonville, Florida.
             During the application process, Lantigua submitted a false and
             fraudulent statement of a life insurance policy from Hartford Universal
             Life, reflecting a cash value of more than $2.4 million, and a false and
             fraudulent statement of his personal assets and liabilities. Under the
             loan agreements, Lantigua assigned life insurance benefits as collateral.
             Based upon the false information provided to the bank, the loans were
             approved and funded.

                    In early 2013, with his business financially suffering and having
             borrowed $2 million based on fraudulent documents, Lantigua decided to
             fake his own death and allow his family to collect his life insurance
             benefits to pay off his outstanding debt. He told his wife, Daphne
             Simpson, that he suffered from a fatal brain disease and had one year or
             less to live. He said that he could travel to South America to undergo a
             potentially life-saving treatment.


                                                 2
Case 3:19-cv-01291-TJC-PDB    Document 16      Filed 03/01/23   Page 3 of 33 PageID 92




                  Shortly before his trip, Lantigua revealed to Simpson that he had
          no brain disease, but he continued to lie to her. He told her that his
          military past was catching up with him. He explained that he had led an
          Army special operations team, his team had taken out a drug cartel
          leader, and he was being blackmailed by a rogue CIA agent. Lantigua
          told Simpson he had been blackmailed into paying money to avoid
          exposure to the alleged cartel leader’s son. He also said that members of
          his former team had already been killed and warned Simpson that both
          of their families were in danger. Simpson believed the fabricated military
          story and agreed to help him out of fear for their families by applying for
          Lantigua’s life insurance benefits after he secured a sham death
          certificate.

                  Lantigua flew to Venezuela, where he obtained the fraudulent
          death certificate and a fraudulent certificate of cremation. Simpson met
          Lantigua in Venezuela and used the fraudulent death certificate and
          certificate of cremation to obtain a certificate of death abroad from the
          U.S. Embassy. She then returned to the United States with the fake
          certificates.

                 Simpson submitted false claims to seven life insurance companies,
          representing that Lantigua had died in Venezuela. She directed
          Lantigua’s attorney, who was unaware of the scheme, to prepare the
          documents necessary to seek death benefits from the life insurance
          companies. The cumulative value of these policies exceeded $6.6 million,
          but only three of the companies paid death benefits, so Simpson only
          received $871,067.11. Simpson and Lantigua’s unwitting attorney went
          to federal court in an attempt to obtain payment on at least some of the
          policies.

                 Meanwhile, Lantigua illegally returned to the United States by
          paying an individual $5,000 to take him from the Bahamas to Florida on
          a fishing boat. Lantigua and Simpson then traveled to their second home
          in North Carolina, where Lantigua used a New York driver’s license and
          birth certificate in the name of “Ernest Allen Wills” to obtain a North
          Carolina driver’s license in that name. He used his fraudulent driver’s
          license to apply for a passport in Wills’s name. Officials with the U.S.
          Department of State caught on to Lantigua’s fraudulent passport
          application, and law enforcement arrested him in North Carolina.

     United States v. Lantigua, 749 F. App’x 875, 877–78 (11th Cir. 2018).




                                              3
Case 3:19-cv-01291-TJC-PDB   Document 16    Filed 03/01/23   Page 4 of 33 PageID 93




           In April 2015, a grand jury in the Western District of North Carolina

     indicted Petitioner on one count of passport fraud, in violation of 18 U.S.C. §

     1542, and one count of aggravated identity theft, in violation of 18 U.S.C. §

     1028A. (Crim. Case No. 141 Doc. 1-3, W.D.N.C. Indictment.) That case was

     transferred to this Court in September 2016, becoming Case Number 3:16-cr-

     141-TJC-PDB. (Crim. Case No. 141 Doc. 1.) Meanwhile, in Case Number 3:16-

     cr-125-TJC-PDB, the United States charged Petitioner by information with one

     count of conspiracy to commit mail and wire fraud, in violation of 18 U.S.C. §§

     1343 and 1349, and one count of bank fraud, in violation of 18 U.S.C. §§ 1344

     and 2. (Crim. Doc. 1, M.D. Fla. Information.)

           Petitioner entered guilty pleas to all four charges. He waived indictment

     and pled guilty to conspiracy to commit mail and wire fraud and bank fraud

     under a written plea agreement (Crim. Docs. 10, 12, 50), and he pled guilty to

     passport fraud and aggravated identity theft without a plea agreement (Crim.

     Case No. 141 Docs. 8, 37). The Magistrate Judge who presided over the plea

     colloquies recommended that, having cautioned Petitioner and examined him

     under oath about each subject in Rule 11, Federal Rules of Criminal Procedure,

     Petitioner knowingly and voluntarily admitted facts that established the

     elements of each offense. (Crim. Doc. 13; Crim. Case No. 141 Doc. 10.) The Court

     accepted Petitioner’s guilty pleas and adjudicated him accordingly.




                                            4
Case 3:19-cv-01291-TJC-PDB       Document 16     Filed 03/01/23    Page 5 of 33 PageID 94




           The cases proceeded to sentencing before the undersigned on February 1,

     2017. The Court was familiar with Petitioner’s case because the undersigned

     also presided over civil proceedings in which Petitioner’s wife tried to recover

     benefits from Petitioner’s life insurance policies. See Amer. Gen. Life Ins. Co. v.

     Lantigua, et al., No. 3:13-cv-1363-TJC-JBT, and related cases.

           For Petitioner’s fraud convictions, a probation officer calculated a

     guidelines sentencing range of 51 to 63 months in prison, based on a total

     offense level of 24 and a Criminal History Category of I. (Crim. Doc. 26,

     Presentence Investigation Report [“PSR”] ¶ 103.) The offense level included an

     18-level enhancement for an intended loss amount of $8.6 million (id. ¶ 45), 2

     minus three levels for acceptance of responsibility (id. ¶¶ 62–63). The guidelines

     sentence for Petitioner’s aggravated identity theft conviction was 24 months

     consecutive to all other counts, yielding a total guidelines imprisonment range

     of 75 to 87 months. See U.S.S.G. § 2B1.6.

           The Court adopted the guidelines calculation without objection. (Crim.

     Doc. 52, Sentencing Transcript at 5–7.) It then heard extensive argument from

     the parties and reviewed statements from some of the victims (id. at 10–74),



     2      The actual loss amount was $2.8 million. (Crim. Doc. 26 ¶ 33.) $8.6 million
     represented the intended loss amount under U.S.S.G. § 2B1.1(b)(1)(J) and § 2B1.1,
     cmt. 3(A) (2016). (Id. ¶ 45.) The $8.6 million figure consisted of the $2 million in loans
     that Petitioner fraudulently obtained from American Enterprise Bank, plus the
     cumulative $6.6 million value of seven life insurance policies from which he tried to
     collect. (See id. ¶¶ 24–26.)

                                                 5
Case 3:19-cv-01291-TJC-PDB     Document 16     Filed 03/01/23   Page 6 of 33 PageID 95




     including Michael Wienckowski, a former friend who had loaned Petitioner over

     $1.7 million (id. at 38–45). 3 Before pronouncing the sentence, the Court

     considered the sentencing guidelines and each factor listed in 18 U.S.C. §

     3553(a). (Id. at 85–98.) On Petitioner’s side, the Court noted that he had “served

     with distinction in the military and then became a respected and valued

     member of his community” (id. at 88), that Petitioner had cooperated with the

     government and was remorseful (id. at 94), and that Petitioner was unlikely to

     commit another fraud, such that specific deterrence was “not a big issue” (id. at

     95). But on the other side, the Court noted that Petitioner was “convicted of a

     particularly pernicious fraud which counts as its victims banks, insurance

     companies, governmental agencies, his friends, his family, and even this very

     court.” (Id. at 88.) The Court remarked that Petitioner’s wife, at Petitioner’s

     urging, had “duped” a law firm into advocating for payment of the insurance

     policies in state and federal court. (Id. at 89.) Similarly, the Court observed that

     “[t]hese lawsuits and the events surrounding them caused the insurance

     companies and creditors, including the bank, and also Mr. Wienckowski, to

     embark on a massive and expensive investigation.” (Id. at 92.) The Court

     commented that “the perniciousness and callousness of Mr. Lantigua’s actions




     3     Although Wienckowski was not a victim of a count of conviction, he and his wife
     spoke at the sentencing hearing about the money they lost because of Petitioner’s
     fraud and through litigating against Petitioner and his wife to recover the money.

                                              6
Case 3:19-cv-01291-TJC-PDB    Document 16    Filed 03/01/23   Page 7 of 33 PageID 96




     … set this case apart” from other fraud offenses. (Id. at 93.) As the Court

     explained: “in terms of pure evil or the willingness to involve and dupe not only

     your wife, but others close to you, and then others who had befriended you, …

     in the spectrum of frauds, it really ranks as among the more serious fraud cases

     I’ve seen.” (Id.)

           After considering these facts and the § 3553(a) factors, the Court

     determined that a within-guidelines sentence was “insufficient to account for

     the gravity of the offense, … all the persons who suffered, … the use of the

     court’s system to try to achieve fraudulent ends, and all of the attributes of the

     fraud.” (Id. at 96.) The Court determined that a total sentence of 168 months’

     imprisonment was warranted. (Id. at 97; Crim. Doc. 37, Judgment.) 4 In the

     Statement of Reasons filed after sentencing, the Court cited as explanations for

     the upward variance the nature and circumstances of the offense; the need to

     reflect the seriousness of the offense, promote respect for the law, and provide

     just punishment; the need to afford adequate deterrence; and the need to

     protect the public from further crimes of the defendant. (Crim. Doc. 38,

     Statement of Reasons at 3.)




     4     The sentence consisted of concurrent terms of 144 months’ imprisonment for
     conspiracy to commit mail and wire fraud and bank fraud, a concurrent term of 120
     months’ imprisonment for passport fraud, and a consecutive term of 24 months for
     aggravated identity theft. (Crim. Doc. 37.)

                                             7
Case 3:19-cv-01291-TJC-PDB        Document 16    Filed 03/01/23    Page 8 of 33 PageID 97




              Petitioner appealed the Judgment, arguing that his sentence was

     procedurally and substantively unreasonable. Lantigua, 749 F. App’x at 877.

     Petitioner argued that the sentence was procedurally unreasonable because the

     Court failed to adequately explain the sentence imposed. Id. at 880. And

     Petitioner argued that the sentence was substantively unreasonable because

     the   Court     considered    improper     factors   and     weighed   proper   factors

     unreasonably. Id. The Eleventh Circuit rejected Petitioner’s arguments and

     affirmed his convictions and sentence. Id. at 880–83.

              Afterward, Petitioner sought certiorari review before the United States

     Supreme Court, which the Supreme Court denied. Lantigua v. United States,

     139 S. Ct. 1586 (2019). These § 2255 proceedings timely followed.

        II.     Discussion

              Under 28 U.S.C. § 2255, a person in federal custody may move to vacate,

     set aside, or correct his sentence. Section 2255 authorizes a district court to

     grant relief on four grounds: (1) the sentence was imposed in violation of the

     Constitution or laws of the United States; (2) the court lacked jurisdiction to

     impose the sentence; (3) the sentence exceeds the maximum authorized by law;

     or (4) the sentence is otherwise subject to collateral attack. 28 U.S.C § 2255(a).

     Only jurisdictional claims, constitutional claims, and claims of error that are so

     fundamental as to cause a complete miscarriage of justice will warrant relief

     through collateral attack. United States v. Addonizio, 442 U.S. 178, 184-86

                                                 8
Case 3:19-cv-01291-TJC-PDB     Document 16     Filed 03/01/23   Page 9 of 33 PageID 98




     (1979); Spencer v. United States, 773 F.3d 1132, 1138 (11th Cir. 2014) (en banc).

           A § 2255 movant “bears the burden to prove the claims in his § 2255

     motion.” Rivers v. United States, 777 F.3d 1306, 1316 (11th Cir. 2015); see also

     Beeman v. United States, 871 F.3d 1215, 1221–23 (11th Cir. 2017). If “‘the

     evidence does not clearly explain what happened … the party with the burden

     loses.’” Beeman, 871 F.3d at 1225 (quoting Romine v. Head, 253 F.3d 1349, 1357

     (11th Cir. 2001)). A § 2255 movant will not be entitled to relief, or an evidentiary

     hearing, “when his claims are merely ‘conclusory allegations unsupported by

     specifics’ or ‘contentions that in the face of the record are wholly incredible.’”

     Tejada v. Dugger, 941 F.2d 1551, 1559 (11th Cir. 1991) (citation omitted).

           “[A] collateral attack is the preferred vehicle for an ineffective-assistance

     claim.” United States v. Padgett, 917 F.3d 1312, 1318 (11th Cir. 2019). To

     establish ineffective assistance of counsel, a § 2255 petitioner must show both:

     (1) that his counsel’s performance was constitutionally deficient, and (2) that

     counsel’s deficient performance prejudiced the defense. Strickland v.

     Washington, 466 U.S. 668, 687 (1984); Martin v. United States, 949 F.3d 662,

     667 (11th Cir. 2020). In determining whether counsel was deficient, “[t]he

     standard for effective assistance of counsel is reasonableness, not perfection.”

     Brewster v. Hetzel, 913 F.3d 1042, 1056 (11th Cir. 2019) (citing Strickland, 466

     U.S. at 687). “In the light of the ‘strong presumption’ that counsel's actions [fell]

     within the wide range of constitutionally adequate assistance, a movant ‘must

                                              9
Case 3:19-cv-01291-TJC-PDB   Document 16    Filed 03/01/23   Page 10 of 33 PageID 99




     establish that no competent counsel would have taken the [challenged] action.’”

     Khan v. United States, 928 F.3d 1264, 1272 (11th Cir. 2019) (quoting Chandler

     v. United States, 218 F.3d 1305, 1314-15 (11th Cir. 2000) (en banc)). To

     establish prejudice, the petitioner must show a reasonable likelihood that the

     result of the proceeding would have been different but for counsel’s error.

     Martin, 949 F.3d at 667 (citing Padilla v. Kentucky, 559 U.S. 356, 366 (2010)).

     The Court considers the totality of the evidence in determining whether a

     petitioner has established deficient performance and prejudice. Strickland, 466

     U.S. at 695. However, because both prongs are necessary, “there is no reason

     for a court… to approach the inquiry in the same order or even to address both

     components of the inquiry if the defendant makes an insufficient showing on

     one.” Id. at 697.

           A. Ground One

           Petitioner argues that defense counsel, Assistant Federal Defender Lisa

     Call, gave ineffective assistance by not objecting to what Petitioner calls “the

     sentencing judge’s biased statements,” meaning the Court’s reference to the

     Court being a victim of Petitioner’s fraud. (Civ. Doc. 1 at 4.) Petitioner also

     contends that counsel gave ineffective assistance by not objecting to “the

     inadequate and contradictorily substantiated rationale for deviating and more

     than doubling of the applicable sentencing guidelines.” (Id.) According to

     Petitioner, the Court’s actions called its impartiality into question, such that

                                           10
Case 3:19-cv-01291-TJC-PDB    Document 16     Filed 03/01/23   Page 11 of 33 PageID 100




      the undersigned should have recused himself to avoid the appearance of

      impropriety. (Id.)

            The government argues that Petitioner “procedurally defaulted his

      ineffective assistance of counsel claims by failing to raise them on direct

      appeal.” (Civ. Doc. 13 at 8.) That is wrong. The Supreme Court has held “that

      failure to raise an ineffective-assistance-of-counsel claim on direct appeal does

      not bar the claim from being brought in a later, appropriate proceeding under §

      2255.” Massaro v. United States, 538 U.S. 500, 509 (2003). The same goes for

      Petitioner’s other ineffective assistance claims as well.

            Rather, this claim fails because the underlying assertions––that the

      Court was biased and that the Court gave an “inadequate and contradictorily

      substantiated rationale” for imposing an upward variance––were raised and

      rejected on direct appeal. See Lantigua, 749 F. App’x at 880–83. “It is long

      settled that a prisoner is procedurally barred from raising arguments in a

      motion to vacate his sentence … that he already raised and that we rejected in

      his direct appeal.” Stoufflet v. United States, 757 F.3d 1236, 1239 (11th Cir.

      2014) (collecting cases); United States v. Nyhuis, 211 F.3d 1340, 1343 (11th Cir.

      2000) (“Once a matter has been decided adversely to a defendant on direct

      appeal it cannot be re-litigated in a collateral attack under section 2255.”). “The

      fact that [Petitioner] now frames these grounds in terms of ineffective

      assistance, rather than trial-court error, does not make them new claims.”

                                              11
Case 3:19-cv-01291-TJC-PDB     Document 16     Filed 03/01/23   Page 12 of 33 PageID 101




      Fields v. United States, No. 18-14466-F, 2019 WL 3526490, at *1 (11th Cir. Feb.

      21, 2019) (order denying certificate of appealability) (citation omitted); see also

      Nyhuis, 211 F.3d at 1343 (recharacterizing a previously rejected claim under a

      different, but previously available, legal theory does not merit rehearing).

            As to the Court’s alleged bias, Petitioner argued on direct appeal that the

      sentence was substantively unreasonable because “the district court relied on

      an improper factor––harm to the court––in determining an appropriate

      sentence.” Lantigua, 749 F. App’x at 881. He further argued that consideration

      of this factor “reflected the court’s bias against him,” id. at 881, and “that the

      district judge was biased against him and should have recused himself,” id. at

      881 n.3. The Eleventh Circuit concluded that the Court’s remark about being a

      victim of Petitioner’s fraud did not constitute reliance on an improper factor:

                   When we place the district court’s statements in context, however,
            we cannot agree that they were improper. The court thoroughly
            explained that Lantigua had improperly used the judicial system by
            manipulating lawyers into taking untrue positions and then requiring
            Lantigua’s victims to litigate against Simpson to show she was not
            entitled to life insurance proceeds. It was only in crafting this
            explanation that the court mentioned that Lantigua’s fraud had touched
            “this very court.” Doc. 52 at 88. The court’s fulsome explanation makes
            clear that it did not consider itself a victim of Lantigua’s fraud in the
            traditional sense; instead, it was accounting for Lantigua’s abuse of the
            judicial system generally as a means to facilitate his fraud.

      Id. at 881. As to Petitioner’s argument that the undersigned was biased and

      should have recused himself, the Eleventh Circuit found no error, “plain or

      otherwise,” because “the district court’s comments were not improper, nor did


                                               12
Case 3:19-cv-01291-TJC-PDB     Document 16      Filed 03/01/23   Page 13 of 33 PageID 102




      they evidence partiality.” Id. at 881 n.3. Thus, Petitioner’s claim that counsel

      was ineffective for not objecting to these same comments must fail. 5

            As for the “the inadequate and contradictorily substantiated rationale”

      for varying above the guidelines range (Civ. Doc. 1 at 4), Petitioner argued on

      direct appeal that the Court imposed a procedurally unreasonable sentence

      “because it failed to explain adequately the upward variance.” Lantigua, 749 F.

      App’x at 880. Specifically, Petitioner

            argue[d] that an inconsistency between the district court’s oral
            pronouncement at sentencing and its written Statement of Reasons
            created an ambiguity in the record that prevents meaningful appellate
            review and requires resentencing. During the sentencing hearing, the
            district court stated that the need to deter Lantigua from committing
            additional crimes, a sentencing factor listed in § 3553(a)(2)(C), was “not
            a big issue” because it was unlikely that he would commit fraud in the
            future. Doc. 52 at 94-95. But in the Statement of Reasons completed after
            sentencing, the district court checked the box indicating that the need for
            the sentence to “protect the public from further crimes of the defendant
            (18 U.S.C. § 3553(a)(2)(C))” was among the factors justifying the upward
            variance. Lantigua argue[d] that this inconsistency requires
            resentencing.

      Id. The Eleventh Circuit rejected the argument, explaining:

                    Lantigua argues that the oral pronouncement and the Statement
            of Reasons take conflicting positions on the role of deterrence in his
            sentence, making our review of the reasonableness of his sentence
            impossible. But the two are not unambiguously in conflict. Even though
            the district court minimized the role of specific deterrence as a
            justification for varying upward during the sentencing hearing, it did not
            entirely disregard that factor. The district court’s statement that it was
            “unlikely” that Lantigua might reoffend was not inconsistent with its
            notation in the Statement of Reasons that it varied upward “[t]o protect
            the public from further crimes of the defendant.” Doc. 52 at 95; Doc. 38

      5      Likewise, Petitioner’s request that the undersigned recuse from the § 2255 case
      (Civ. Doc. 2) is DENIED.

                                                13
Case 3:19-cv-01291-TJC-PDB     Document 16      Filed 03/01/23   Page 14 of 33 PageID 103




            at 3.

                   To the extent an orally pronounced sentence is ambiguous, “it is
            proper to look to the written judgment to ascertain the court’s
            intentions.” [United States v. Bonilla, 579 F.3d 1233, 1245 (11th Cir.
            2009)] (internal quotation marks omitted). Here, because there was no
            direct conflict, to the extent the district court’s oral pronouncement was
            ambiguous with reference to specific deterrence, the Statement of
            Reasons clarified the district court’s intent to rely, at least in part, on
            specific deterrence in varying upward from Lantigua’s guidelines
            range. Lantigua has not, therefore, demonstrated that the district court
            created such an ambiguity in the record as to warrant resentencing.

      Id. at 880–81. Thus, Petitioner’s claim that counsel was ineffective for not

      objecting to an allegedly inadequate or contradictory explanation for the

      upward variance also fails.

            In short, Petitioner is not entitled to relief on Ground One because the

      underlying issues were litigated and resolved against him on direct appeal.

      Moreover, because the issues were resolved against Petitioner on appeal, he

      cannot demonstrate prejudice under Strickland.

            B. Ground Two

            Petitioner asserts that defense counsel gave ineffective assistance “by not

      objecting to the district court’s use of inadmissible sentencing factors and facts

      not in evidence,” which he claims the government introduced at sentencing as

      “unsubstantiated allegations.” (Civ. Doc. 1 at 5.) Petitioner argues that counsel

      should have objected to any reference to, or consideration of, facts or conduct

      that Petitioner did not admit in his guilty pleas or that were not included in the

      PSR. (Id.) He also argues that appellate counsel gave ineffective assistance “by

                                                14
Case 3:19-cv-01291-TJC-PDB    Document 16     Filed 03/01/23   Page 15 of 33 PageID 104




      presenting erroneous sentence calculation criteria” on direct appeal. (Id.)

            In an appendix to the § 2255 Motion, Petitioner identifies five issues that

      the prosecutor or the Court raised at sentencing to which his counsel allegedly

      should have objected. (Civ. Doc. 1-1.) Petitioner asserts that counsel should

      have objected to: (1) the prosecutor’s suggestion that Petitioner, while

      technically a first-time offender, was not really a first-time offender because he

      duped Michael Wienckowski into loaning him $1.7 million (Civ. Doc. 1-1 at 1;

      see also Crim. Doc. 52 at 20–21); (2) the prosecutor’s statement that Petitioner

      could have received a guidelines enhancement for jeopardizing a federally

      insured bank (i.e., American Enterprise Bank) (see Civ. Doc. 1-1 at 2; Crim.

      Doc. 52 at 16–17, 23); (3) the prosecutor’s suggestion that the Court could add

      $1.7 million to the guidelines loss amount based on Wienckowski’s loan to

      Petitioner (Civ. Doc. 1-1 at 3; see Crim. Doc. 52 at 23); (4) the Court’s statement

      that the Court was a victim of Petitioner’s fraud (Civ. Doc. 1-1 at 4) 6; and (5)

      the Court’s remark that Petitioner did not try to “put a stop” to his criminal

      conduct, since defense counsel allegedly had evidence that, before his arrest,

      Petitioner had emailed an attorney about arranging an interview with

      authorities (id. at 5). 7 Because of these unobjected-to arguments and remarks,



      6     This issue was addressed in Ground One.

      7     Petitioner provides no evidence that he intended to turn himself in to
      authorities. Even if he did, it would not change the fact––which he admitted––that

                                              15
Case 3:19-cv-01291-TJC-PDB      Document 16     Filed 03/01/23   Page 16 of 33 PageID 105




      Petitioner contends, the Court effectively increased his Criminal History

      Category from I to II (for being a repeat offender), increased the loss amount

      from $8.6 million to $10.4 million (increasing the offense level based on

      Wienckowski’s loan), added a guidelines enhancement for jeopardizing a

      federally insured bank, and denied him credit for acceptance of responsibility

      (for not stopping his criminal conduct earlier), resulting in a guidelines range

      of 135 to 168 months. (See Civ. Doc. 1-1 at 1–3, 5–6.) 8 Petitioner also argues

      that appellate counsel should have presented these guidelines “deviation[s]” to

      the appeals court. (Civ. Doc. 1 at 6.)

            Petitioner’s claim rests in part on the faulty premise that, at sentencing,

      a court may not consider any information beyond the factual basis or the PSR.

      (See Civ. Doc. 1 at 5.) Petitioner is wrong. 18 U.S.C. § 3661 provides: “No

      limitation shall be placed on the information concerning the background,

      character, and conduct of a person convicted of an offense which a court of the



      after he returned to the United States from Venezuela in 2013, he lived in North
      Carolina under a fake or stolen identity until 2015. (Crim. Doc. 50 at 31–35.) Nor
      would it contradict the Court’s observation that at any time between 2013 and 2015,
      when his wife was fraudulently trying to collect the life insurance proceeds, Petitioner
      could have instructed her to stop the fraudulent efforts and he did not.

      8       Petitioner suggests that he more than repaid Wienckowski for the $1.7 million
      loan. (See id. at 7.) Petitioner ignores that (1) Wienckowski incurred additional costs
      in litigating against Petitioner to recover the funds, and (2) Petitioner also took a
      second $500,000 loan from Wienckowski, which was repaid from the proceeds of the
      sale of Petitioner’s condo. (See Crim. Doc. 52 at 20.) Petitioner seemingly thinks the
      $500,000 loan repayment should be double-credited against the $1.7 million loan as
      well. (See Civ. Doc. 1-1 at 7.)

                                                16
Case 3:19-cv-01291-TJC-PDB     Document 16     Filed 03/01/23     Page 17 of 33 PageID 106




      United States may receive and consider for the purpose of imposing an

      appropriate sentence.” Thus, that the Court considered information outside the

      factual basis or the PSR, by itself, is not grounds for an objection, and defense

      counsel was not ineffective for not objecting on that basis. See Freeman v. Att’y

      Gen., 536 F.3d 1225, 1233 (11th Cir. 2008) (“A lawyer cannot be deficient for

      failing to raise a meritless claim.” (citation omitted)).

            Petitioner also misconstrues the record. Contrary to his claims, the Court

      did not increase Petitioner’s Criminal History Category or offense level based

      on the $1.7 million loan from Wienckowski. (See Crim. Doc. 52 at 88 (stating

      that the loss amount was $8.6 million, based on the victims of the counts of

      conviction); id. at 89, 97 (recognizing that Petitioner “had no prior criminal

      history” and “live[d] a crime-free life before” committing the offense conduct).)

      The Court did not add a guidelines enhancement for jeopardizing a federally

      insured bank. And it did not revoke the guidelines reduction for acceptance of

      responsibility because Petitioner persisted in his criminal conduct for two years.

      Rather, the Court adopted the PSR’s calculation of the total offense level (24)

      and the Criminal History Category (I) (id. at 6–7, 89), which was based on a

      lack of criminal history, a loss amount of $8.6 million (not $10.4 million), a

      three-level reduction for acceptance of responsibility, and included no

      enhancement for jeopardizing a federally insured bank (see Crim. Doc. 26, PSR

      ¶¶ 44–67).

                                               17
Case 3:19-cv-01291-TJC-PDB   Document 16    Filed 03/01/23   Page 18 of 33 PageID 107




            The sentence imposed expressly was not tied to the guidelines, but was

      an upward variance based on the § 3553(a) factors. Under 18 U.S.C. § 3553(a),

      a district court must consider several factors in determining a defendant’s

      sentence, of which the sentencing guidelines are merely one. Other factors

      include “the nature and circumstances of the offense and the history and

      characteristics of the defendant,” § 3553(a)(1), as well as the need for the

      sentence to reflect the seriousness of the offense, promote respect for the law,

      provide just punishment, afford adequate deterrence, and protect the public, §

      3553(a)(2). In deciding whether to vary above the guidelines range, a district

      court may consider any information relevant to a defendant’s “background,

      character, and conduct.” United States v. Tome, 611 F.3d 1371, 1379 (11th Cir.

      2010). A district court may take uncharged or acquitted conduct into account,

      as long as such conduct has been proven by the greater weight of the evidence.

      United States v. Faust, 456 F.3d 1342, 1347–48 (11th Cir. 2006).

            When the Court explained Petitioner’s sentence, it highlighted certain

      facts that distinguished Petitioner’s crime from other fraud offenses. (Crim.

      Doc. 52 at 90–92.) Petitioner admitted nearly all these facts through his guilty

      pleas, so counsel had no grounds to contest them. The Court noted that

      Petitioner created false documents to induce American Enterprise Bank to lend

      him $2 million; that Petitioner deceived his wife into believing he had a fatal

      brain disease, and then deceived her into believing that their families were in

                                            18
Case 3:19-cv-01291-TJC-PDB    Document 16    Filed 03/01/23   Page 19 of 33 PageID 108




      mortal danger from a rogue CIA agent; that Petitioner went to great lengths to

      execute the insurance fraud scheme, including traveling to Venezuela to fake

      his death; that Petitioner caused his wife to hire a law firm to sue the life

      insurance companies in a fraudulent effort to recover the insurance proceeds,

      which caused the insurers to embark on costly investigations and lawsuits; and

      that Petitioner’s conduct persisted for two years before he and his wife were

      found in North Carolina living under a fake identity. (Id.) All these facts were

      part of the factual basis for Petitioner’s guilty pleas. (See Crim. Doc. 50 at 28–

      35; Crim. Case No. 141 Doc. 37 at 21–24.) The Court also noted Petitioner’s

      “willing[ness] to play upon the trust and affections of his wife, his family, his

      friends, his faith community, and business associates to achieve his fraudulent

      end” (Crim. Doc. 52 at 92), a conclusion the Court drew from the facts Petitioner

      had admitted. In the Court’s judgment, these facts supported an upward

      variance due to the nature and circumstances of the offense, the need for the

      sentence to reflect the seriousness of the offense, promote respect for the law,

      and provide just punishment, and the need to afford adequate general

      deterrence. (Id. at 92–97; see also Crim. Doc. 38 (Statement of Reasons).)

            The Court did hear and consider a statement by Michael Wienckowski

      about the $1.7 million he loaned Petitioner. (Crim. Doc. 52 at 38–45, 90, 91–92.)

      While Petitioner’s conduct toward Wienckowski was not included in the PSR or

      the factual basis, the Court was allowed to consider any information about

                                             19
Case 3:19-cv-01291-TJC-PDB     Document 16      Filed 03/01/23   Page 20 of 33 PageID 109




      Petitioner’s background, character, and conduct, Tome, 611 F.3d at 1379,

      including evidence of uncharged conduct that was proven by the greater weight

      of the evidence, Faust, 456 F.3d at 1347–48. Petitioner did not, and does not,

      deny that he obtained a $1.7 million loan from Wienckowski under false

      pretenses. Nor does he identify grounds on which defense counsel could have

      objected to consideration of Wienckowski’s statement. 9 The Eleventh Circuit

      “discern[ed] no error” in the Court imposing an upward variance based, in part,

      on Wienckowski’s on-the-record statement. Lantigua, 749 F. App’x at 881–82.

            Petitioner fails to show that sentencing counsel performed deficiently

      under Strickland by not objecting to the facts on which the Court based the

      upward variance. The facts that the Court cited in support of the variance were

      admitted by Petitioner or were on record and not genuinely disputed. Nor has

      Petitioner shown that he was prejudiced, i.e., that there is a reasonable

      probability the outcome of sentencing would have been different had counsel


      9      Petitioner was not caught off guard by Wienckowski’s statement. Wienckowski
      had been involved in the proceedings since before sentencing. (See Crim. Doc. 52 at 5,
      8.) At Petitioner’s sentencing hearing, defense counsel did not object to Wienckowski
      offering his statement (id. at 32–33), but she reminded the Court that “[t]here is no
      mention in either the plea agreement, its factual basis or elements of Mr.
      Wienckowski, nor is there any mention in the PSR regarding him, because [he] was
      not a victim of the offense of conviction” (id. at 52). Defense counsel explained the
      circumstances of the loan and hastened to “reaffirm” that Daphne Simpson was not
      involved in securing that loan. (Id. at 58–59.) Defense counsel responded to the
      prosecutor’s suggestion that Petitioner was a repeat offender of sorts based on his
      conduct toward Wienckowski, arguing that “all of these bad acts, so to speak,” occurred
      between April and August 2012, which represented “a very limited time period out of
      [Petitioner’s] whole life.” (Id. at 61.)

                                                20
Case 3:19-cv-01291-TJC-PDB    Document 16    Filed 03/01/23   Page 21 of 33 PageID 110




      lodged an objection. See Strickland, 466 U.S. at 694. Likewise, Petitioner fails

      to show that appellate counsel gave ineffective assistance in challenging the

      sentence, which was thoroughly litigated on direct appeal. See Lantigua, 749 F.

      App’x at 880–83; see also Payne v. United States, 566 F.3d 1276, 1277 (11th

      Cir. 2009) (recognizing that appellate counsel has no duty to raise every

      nonfrivolous issue, but may weed out weaker arguments to focus on one or a

      few key issues (citations omitted)). Relief on Ground Two is due to be denied.

            C. Ground Three

            Petitioner alleges that defense counsel gave ineffective assistance at

      sentencing “by not objecting to the district court inappropriately dismissing §

      3553 sentencing factors, which it should have used in favor of the defendant to

      reduce the sentence … imposed.” (Civ. Doc. 1 at 7.) Petitioner claims that the

      Court gave insufficient weight or no weight to his acceptance of responsibility,

      his cooperation with the government and victims, his military service, his

      crime-free life before the offenses, his age (63 at sentencing), and his

      “deteriorating medical condition.” (Id.) In other words, Petitioner argues that

      counsel failed to object that the sentence was substantively unreasonable. See

      United States v. Irey, 612 F.3d 1160, 1189 (11th Cir. 2010) (en banc) (a sentence

      is substantively unreasonable when the district court (1) “fails to afford

      consideration to relevant factors that were due significant weight,” (2) “gives

      significant weight to an improper or irrelevant factor,” or (3) “commits a clear

                                             21
Case 3:19-cv-01291-TJC-PDB     Document 16      Filed 03/01/23    Page 22 of 33 PageID 111




      error of judgment in considering the proper factors” by balancing proper factors

      unreasonably). He also asserts that appellate counsel gave ineffective

      assistance by “not presenting evidence showing dismissal of [the sentencing]

      guidelines.” (Civ. Doc. 1 at 7.)

            The record contradicts Petitioner’s allegations. After the Court

      pronounced the sentence, defense counsel objected to the upward variance and

      the extent of the upward variance, arguing “that it produces a sentence that is

      unreasonably excessive.” (Crim. Doc. 52 at 109–10.) Counsel continued:

                   In light of [Petitioner’s] age and his time in pretrial detention, he
            has almost two full years, versus the court’s announced intention to
            sentence Ms. Simpson to 16 months of pretrial detention custody. And I
            think the total overall analysis of the factors result[s] in a sentence that
            is greater than necessary.

      (Id. at 110.) In other words, counsel objected to the substantive reasonableness

      of the term of imprisonment, preserving the issue for appeal.

            On direct appeal, Petitioner (through appellate counsel) challenged the

      procedural and substantive reasonableness of the sentence. Lantigua, 749 F.

      App’x at 880. As to substantive reasonableness, Petitioner “argue[d] that the

      district court weighed improper factors and balanced proper factors

      unreasonably.” Id.; see also id. at 881–83. As relevant here, Petitioner argued

      that the Court balanced proper factors unreasonably by (1) giving “inadequate

      weight to the driver of his applicable guidelines range,” which was the loss

      amount, because the Court “imposed a sentence corresponding to a loss amount


                                                22
Case 3:19-cv-01291-TJC-PDB     Document 16      Filed 03/01/23   Page 23 of 33 PageID 112




      of $150 million, an amount far higher than the loss amount in his case,” (2)

      giving “too little weight to the fact that [Petitioner] pled guilty and accepted

      responsibility,” and (3) giving too little weight to the length of Petitioner’s

      pretrial detention and the need to provide restitution (which, Petitioner argued,

      supported a shorter term of incarceration). Id. at 882. The Eleventh Circuit

      rejected these arguments, explaining:

            [A]lthough the district court must consider all of the applicable §
            3553(a) factors, United States v. Shaw, 560 F.3d 1230, 1237 (11th Cir.
            2009), it need not give all of the factors equal weight. Instead, the
            sentencing court “is permitted to attach ‘great weight’ to one factor over
            others.” Id. (internal quotation marks omitted). The decision about how
            much weight to assign a particular sentencing factor is “committed to the
            sound discretion of the district court.” United States v. Williams, 526
            F.3d 1312, 1322 (11th Cir. 2008) (internal quotation marks omitted).
            Considering the thoroughness and care with which the district court
            analyzed the § 3553(a) factors as applied to this case, the court made no
            clear error of judgment by assigning less weight to Lantigua’s acceptance
            of responsibility and pretrial detention, as well as to the need to provide
            restitution, and more weight to the other § 3553(a) factors.

      Id. at 882–83.

            While appellate counsel did not argue that the Court “dismiss[ed the]

      guidelines,” (Civ. Doc. 1 at 7), “[e]xperienced advocates since time beyond

      memory have emphasized the importance of winnowing out weaker arguments

      on appeal and focusing on one central issue if possible, or at most on a few key

      issues.” Payne, 566 F.3d at 1277 (internal quotation marks and citation

      omitted). The record does not support an argument that the Court “dismiss[ed],”

      or gave zero weight to, the sentencing guidelines. Instead, the Court



                                                23
Case 3:19-cv-01291-TJC-PDB    Document 16    Filed 03/01/23   Page 24 of 33 PageID 113




      acknowledged the guidelines range (Crim. Doc. 52 at 6–7, 89) and recognized

      that “the sentencing guidelines are always influential in arriving at a sentence”

      (id. at 90). But the Court also recognized that the sentencing guidelines are only

      one of the § 3553(a) factors that a sentencing court must consider. (Id.)

            The record refutes Petitioner’s allegation that sentencing counsel

      unreasonably failed to object to the substantive reasonableness of the sentence

      or that appellate counsel unreasonably litigated the issue on direct appeal.

      Relief on Ground Three will be denied.

            D. Ground Four

            Next, Petitioner contends there was an unwarranted disparity between

      his sentence and that of his co-conspirator, Daphne Simpson, who was

      sentenced to time served based on the 16 months she spent in pretrial detention.

      (Civ. Doc. 1 at 8.) Petitioner also contends there was an unwarranted disparity

      between his sentence and the sentences imposed in “similar cases.” (Id.)

            Petitioner procedurally defaulted this claim. He could have challenged an

      unwarranted sentencing disparity on direct appeal but he did not do so. “Courts

      have long and consistently affirmed that a collateral challenge, such as a § 2255

      motion, may not be a surrogate for a direct appeal.” Lynn v. United States, 365

      F.3d 1225, 1232 (11th Cir. 2004) (citing United States v. Frady, 456 U.S. 152,

      165 (1982)). “Under the procedural default rule, a defendant generally must

      advance an available challenge to a criminal conviction or sentence on direct

                                             24
Case 3:19-cv-01291-TJC-PDB      Document 16   Filed 03/01/23   Page 25 of 33 PageID 114




      appeal or else the defendant is barred from presenting that claim in a § 2255

      proceeding.” Id. at 1234 (citations omitted). “This rule generally applies to all

      claims, including constitutional claims.” Id. (citing Reed v. Farley, 512 U.S. 339,

      354 (1994)).

            Petitioner alleges that he did not raise the unwarranted disparity claim

      on appeal because “sentencing counsel and appellate counsel failed to provide

      the courts with evidence provided by the defendant of abuse of civil rights at

      the pretrial detention facility, to include sexual harassment by staff of the

      county jail.” (Civ. Doc. 1 at 8.)

            A petitioner can avoid a procedural default through a showing of “cause

      and prejudice.” Lynn, 365 F.3d at 1234 (internal quotation marks and citation

      omitted). 10 To “show cause for procedural default, [a petitioner] must show that

      some objective factor external to the defense prevented [him] or his counsel from

      raising his claims on direct appeal and that this factor cannot be fairly

      attributable to [the petitioner’s] own conduct.” Id. at 1235 (citing Smith v.

      Jones, 256 F.3d 1135, 1145 (11th Cir. 2001)). “Ineffective assistance of counsel

      may satisfy the cause exception to a procedural bar,” but only if the ineffective

      assistance claim has merit. Nyhuis, 211 F.3d at 1344 (citation omitted). The

      petitioner must also show that “actual prejudice” resulted from the claim not



      10    Petitioner does not invoke the actual innocence exception to the procedural
      default rule. (Civ. Doc. 15 at 2.)

                                              25
Case 3:19-cv-01291-TJC-PDB     Document 16     Filed 03/01/23   Page 26 of 33 PageID 115




      being raised on direct appeal. Lynn, 365 F.3d at 1234 (citing Bousley v. United

      States, 523 U.S. 614, 622 (1998)).

            Petitioner fails to allege facts sufficient to establish cause for and actual

      prejudice resulting from the procedural default. Although he states that

      sentencing counsel and appellate counsel failed to present evidence that he

      endured civil rights abuses and sexual harassment while in pretrial detention,

      these allegations are conclusory and undeveloped. Nor does Petitioner explain

      what this has to do with establishing an unwarranted sentencing disparity.

            Besides, Petitioner cannot show actual prejudice resulting from the

      procedural default because the issue lacks merit. At sentencing, the Court

      directly addressed the need to avoid unwarranted sentencing disparities, both

      in general and with respect to Ms. Simpson. As to other fraud cases, the Court

      remarked:

                  I need to avoid unwarranted sentencing disparity among
            defendants with similar records who have been found guilty of similar
            conduct.

                   And I have looked and recalled various fraud sentences I’ve given
            over the years and tried to, to the best I can, pigeonhole Mr. Lantigua’s
            case, and at least have some consistency in the sentences that we’ve
            imposed over the years.

      (Crim. Doc. 52 at 95.) The Court had observed that “in terms of pure evil or the

      willingness to involve and dupe not only your wife, but others close to you, … in

      the spectrum of frauds, it really ranks as among the more serious fraud cases

      I’ve seen.” (Id. at 93.) The Court explained that a lengthy sentence was justified

                                               26
Case 3:19-cv-01291-TJC-PDB     Document 16      Filed 03/01/23    Page 27 of 33 PageID 116




      because Petitioner had perpetrated “a particularly pernicious fraud” that

      affected many people. (Id. at 97.) As to Ms. Simpson, the Court said:

                  And so in deciding this, I’ve looked at all the 3553(a) factors, and
            particularly to see if there’s unwarranted sentencing disparity between
            the sentence I’ve given to Mr. Lantigua and that I’ve given to Ms.
            Simpson. I conclude that the disparity, which is obvious, is warranted.

                   Ms. Simpson would never have been involved in this scheme but
            for being overborne and deceived by Mr. Lantigua. Mr. Lantigua also
            convinced her that his life, as well as hers and her family, were in danger,
            and, therefore, this helped her justify actions which she knew were
            wrong.

      (Id. at 104.)

            Thus, Petitioner did not suffer an unwarranted sentencing disparity,

      either compared to Ms. Simpson or other fraud defendants. Because the issue

      lacks merit and the claim is procedurally defaulted, Petitioner is entitled to no

      relief on Ground Four.

            E. Ground Five

            In a supplemental filing, Petitioner argues that trial counsel and

      appellate counsel gave ineffective assistance “by not objecting to the court’s

      acceptance of charges filed by the U.S. government against the movant, a

      person, who, at the time of each and all of those events, was declared legally

      and technically dead” by a federal agency. (Civ. Doc. 7 at 1.) Because he had

      been declared dead, Petitioner argues that the Court should have dismissed the

      charges, never issued a warrant for his arrest, and never incarcerated him.




                                                27
Case 3:19-cv-01291-TJC-PDB    Document 16    Filed 03/01/23   Page 28 of 33 PageID 117




            This argument is frivolous and almost no reasonable attorney would have

      advanced it. Petitioner is not dead and he never was. He was falsely declared

      dead only because of his own fraudulent conduct. To that end, the Court entered

      an Order “declar[ing] that defendant Jose Salvador Lantigua is alive. Any

      documentation that predates this Order which purports to declare Mr. Lantigua

      dead is necessarily in error.” (Crim. Doc. 42.) It is self-evident that Petitioner

      cannot profit from his own crime by using a false and fraudulently obtained

      death certificate to avoid criminal charges. Cf. Mich. Millers Mut. Ins. Corp. v.

      Benfield, 140 F.3d 915, 923 (11th Cir. 1998) (“That an insured should not be

      allowed to profit from his or her own fraud is a fundamental rule of law that

      requires little explanation.” (citation omitted)). This claim merits no further

      discussion.

            Petitioner also alleges, in conclusory fashion, that when he pled guilty, he

      and his wife were “sequestered under duress” and that his “family was under

      duress through intimidation and threats.” (Civ. Doc. 7 at 1.) Thus, Petitioner

      suggests he did not plead guilty voluntarily. Petitioner fails to elaborate on

      these conclusory allegations. But they are also belied by the record. When

      Petitioner pled guilty to conspiracy to commit mail and wire fraud and bank

      fraud, the Court asked him whether anyone had threatened, forced, coerced, or

      intimidated him into waiving indictment and pleading guilty. (Crim. Doc. 50 at

      17, 37.) Petitioner, who was under oath, answered no. (Id.) Likewise, when

                                             28
Case 3:19-cv-01291-TJC-PDB   Document 16    Filed 03/01/23   Page 29 of 33 PageID 118




      Petitioner pled guilty to the charges of passport fraud and aggravated identity

      theft, the Court asked whether anyone had threatened, forced, coerced, or

      intimidated him into doing so. (Crim. Case No. 141 Doc. 37 at 26.) Petitioner,

      who was under oath, again answered no. (Id.) The Court asked Petitioner if he

      had “any complaints about the way you’ve been treated … that’s causing you to

      plead guilty,” and he answered no. (Crim. Doc. 50 at 39; Crim. Case No. 141

      Doc. 37 at 27.) And Petitioner affirmed he was of sound mind to enter his guilty

      pleas, that he had truthfully answered the Court’s questions, and that he pled

      guilty freely, knowingly, and intelligently. (Crim. Doc. 50 at 5–6, 37–41; Crim.

      Case No. 141 Doc. 37 at 7–9, 26–29.) Counsel for Petitioner and the government

      assured the Court they had no concerns about the plea colloquies. (Crim. Doc.

      50 at 40; Crim. Case No. 141 Doc. 37 at 28.)

            “[T]he representations of the defendant, his lawyer, and the prosecutor at

      [a plea] hearing, as well as any findings made by the judge accepting the plea,

      constitute a formidable barrier in any subsequent collateral proceedings.

      Solemn declarations in open court carry a strong presumption of verity.”

      Blackledge v. Allison, 431 U.S. 63, 73–74 (1977). “The subsequent presentation

      of conclusory allegations unsupported by specifics is subject to summary

      dismissal, as are contentions that in the face of the record are wholly

      incredible.” Id. at 74. “[W]hen a defendant makes statements under oath at a

      plea colloquy, he bears a heavy burden to show his statements were false.”

                                            29
Case 3:19-cv-01291-TJC-PDB    Document 16    Filed 03/01/23     Page 30 of 33 PageID 119




      United States v. Rogers, 848 F.2d 166, 168 (11th Cir. 1988). Petitioner fails to

      rebut the strong presumption that his sworn statements at the plea colloquies

      were true. As a result, relief on Ground Five is due to be denied.

            F. Ground Six

            Finally, Petitioner alleges that the Court and the Probation Office erred

      in calculating the guidelines loss amount. (Civ. Doc. 9.) He says that the loss

      amount was incorrectly calculated using “an ‘assumed’ intended loss amount

      derived from unsubstantiated facts,” a practice he claims the Eleventh Circuit

      renounced in United States v. Sheffield, 939 F.3d 1274 (11th Cir. 2019). (See

      Civ. Doc. 9 at 1.) In Sheffield, which involved the amount of restitution a

      defendant owed the IRS for tax fraud, the Eleventh Circuit held that when “the

      appropriate restitution amount is definite and easy to calculate, the

      government cannot satisfy its burden of proof by relying on the oft-stated (but

      not always applicable) principle that restitution can be based on a reasonable

      estimate of loss.” 939 F.3d at 1276 (citation omitted).

            Petitioner procedurally defaulted this claim, which is not cognizable on

      collateral review. Petitioner could have challenged the calculation of the

      guidelines loss amount on direct appeal but he failed to do so. See Lynn, 365

      F.3d at 1234. Petitioner fails to establish any exception to the procedural

      default rule. And the claim is not cognizable under 28 U.S.C. § 2255 because a

      misapplication of advisory sentencing guidelines “is not a fundamental defect

                                             30
Case 3:19-cv-01291-TJC-PDB     Document 16     Filed 03/01/23   Page 31 of 33 PageID 120




      that inherently results in a complete miscarriage of justice,” Spencer, 773 F.3d

      at 1138, nor does it “violate an ‘ancient’ right” or “raise constitutional concerns,”

      id. at 1140. In any event, the loss amount was correctly calculated based on (1)

      the $2 million loan Petitioner fraudulently obtained from American Enterprise

      Bank and (2) the $6.6 million cumulative value of the life insurance policies on

      which Petitioner tried to collect, totaling $8.6 million. The guidelines allow the

      loss amount to be based on the intended loss, U.S.S.G. § 2B1.1, cmt. 3(A), and

      the intended loss was ascertainable based on the value of the loan from

      American Enterprise Bank and the value of the life insurance policies. Thus,

      Petitioner is entitled to no relief on Ground Six.

            G. Affidavit and Reply

            In his Affidavit (Civ. Doc. 2) and Reply (Civ. Doc. 15), Petitioner appears

      to raise additional claims not contained in the § 2255 Motion or supplemental

      Grounds Five and Six. In the Affidavit, Petitioner alleges that (1) counsel failed

      to seek dismissal of the charges because Petitioner voluntarily returned to the

      United States to “put an end” to the fraud, as purportedly evidenced by an email

      he sent an attorney about arranging an interview with authorities (even though

      he never did turn himself in, but continued living in North Carolina under a

      stolen identity while his wife sued the insurance companies); (2) the conditions

      of Petitioner’s pretrial detention were unconstitutional, including that jail staff

      sexually harassed him and denied him medical treatment; (3) he was wrongfully

                                               31
Case 3:19-cv-01291-TJC-PDB    Document 16     Filed 03/01/23   Page 32 of 33 PageID 121




      denied bail; (4) the conditions of his current imprisonment are unconstitutional;

      and (5) Petitioner had evidence in his personal property that refuted the

      aggravated identity theft charge. (Civ. Doc. 2 at 2–5; see also Civ. Doc. 15 at 2–

      3.) In his Reply, Petitioner adds allegations that (1) there were factual errors in

      the factual basis and the PSR (Civ. Doc. 15 at 3); and (2) he was “disoriented

      and incapacitated” when he pled guilty, such that he was not competent to plead

      guilty (id. at 5–6). Petitioner did not move for leave to amend the § 2255 Motion

      to raise these claims, as he did with supplemental Grounds Five and Six.

            Rule 2(b) of the Rules Governing Section 2255 Proceedings requires that

      a petitioner “specify all the grounds for relief available to the moving party” and

      “state the facts supporting each ground” in the § 2255 motion. If a petitioner

      wishes to raise additional claims not included in the original pleading, he must

      move for leave to amend. See Fed. R. Civ. P. 15. To the extent Petitioner raises

      claims not included in the § 2255 Motion (Civ. Doc. 1), and that he did not obtain

      leave to raise, they are not properly before the Court. Moreover, the additional

      allegations are contradicted by the record, waived by his knowing and voluntary

      guilty plea, procedurally defaulted, or cannot support § 2255 relief.

         IV.   Conclusion

            Having considered each of Petitioner’s claims, and finding that none

      warrants relief under 28 U.S.C. § 2255, it is hereby ORDERED:

            1. Petitioner Jose Lantigua’s Motion Under 28 U.S.C. § 2255 to Vacate,

                                              32
Case 3:19-cv-01291-TJC-PDB      Document 16      Filed 03/01/23    Page 33 of 33 PageID 122




                Set Aside, or Correct Sentence (Civ. Doc. 1), as supplemented (Civ.

                Docs. 7, 9) is DENIED.

              2. The Clerk will enter judgment in favor of the United States and

                against Petitioner, and close the file.

              3. If Petitioner appeals this Order, the Court denies a certificate of

                appealability (COA). Because this Court has determined that a COA

                is not warranted, the Clerk shall terminate from the pending motions

                report any motion to proceed on appeal as a pauper that may be filed

                in this case. Such termination shall serve as a denial of the motion. 11

              DONE AND ORDERED at Jacksonville, Florida this 1st day of March,

      2023.




      lc 19
      C:
      Counsel of record
      Pro se petitioner


      11     The Court should issue a COA only if Petitioner makes “a substantial showing
      of the denial of a constitutional right.” 28 U.S.C. § 2253(c)(2). To make this substantial
      showing, Petitioner “must demonstrate that reasonable jurists would find the district
      court's assessment of the constitutional claims debatable or wrong,” Tennard v.
      Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473, 484
      (2000)), or that “the issues presented were ‘adequate to deserve encouragement to
      proceed further.’” Miller-El v. Cockrell, 537 U.S. 322, 335-36 (2003) (quoting Barefoot
      v. Estelle, 463 U.S. 880, 893 n.4 (1983)). Here, after consideration of the record as a
      whole, the Court will deny a certificate of appealability.

                                                 33
